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                         G U I L T Y PLEA and PLEA A G R E E M E N T
United States Attorney
Northern District of Georgia




                                   UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                                ROME DIVISION
                                 C R I M I N A L N O . 4:17-CR-006-HLM-WEJ

The United States Attorney for the Northern District of Georgia ("the

Government") and Defendant JAIME A D A M RIANO, enter into this plea

agreement as set forth below i n Part IV pursuant to Rule 11 (c)(1)(B) of the

Federal Rules of Criminal Procedure. Jaime A d a m Riano, Defendant, having

received a copy of the above-numbered Indictment and having been arraigned,

hereby pleads GUILTY to Counts 6 and 8.

                                      I. A D M I S S I O N O F G U I L T

      1. The Defendant admits that he is pleading guilty because he is i n fact guilty

of the crimes charged i n Counts 6 and 8, specifically violations of Title 18, United

States Code, Sections 1591(a) and (b)(2), and Section 2.

                        II. A C K N O W L E D G M E N T & W A I V E R O F R I G H T S

     2. The Defendant understands that by pleading guilty, he is giving up the

right to plead not guilty and the right to be tried by a jury. A t a trial, the

Defendant would have the right to an attorney, and i f the Defendant could not

afford an attorney, the Court w o u l d appoint one to represent the Defendant at

trial and at every stage of the proceedings. During the trial, the Defendant

w o u l d be presumed innocent and the Government w o u l d have the burden of
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proving h i m guilty beyond a reasonable doubt. The Defendant w o u l d have the

right to confront and cross-examine the witnesses against him. If the Defendant

wished, he could testify on his o w n behalf and present evidence i n his defense,

and he could subpoena witnesses to testify on his behalf. If, however, the

Defendant d i d not wish to testify, that fact could not be used against him, and

the Government could not compel h i m to incriminate himself. If the Defendant

were f o u n d guilty after a trial, he w o u l d have the right to appeal the conviction.

   3. The Defendant understands that by pleading guilty, he is giving up all of

these rights and there w i l l not be a trial of any kind.

   4. By pleading guilty. Defendant also gives up any and all rights to pursue

any affirmative defenses. Fourth Amendment or Fifth Amendment claims, and

other pretrial motions that have been filed or could have been filed.

   5. The Defendant also understands that he ordinarily w o u l d have the right to

appeal his sentence and, under some circumstances, to attack the conviction and

sentence i n post-conviction proceedings. By entering this Plea Agreement, the

Defendant may be waiving some or all of those rights to appeal and to

collaterally attack his conviction and sentence, as specified below.

   6. Finally, the Defendant understands that, to plead guilty, he may have to

answer, under oath, questions posed to h i m by the Court concerning the rights

that he is giving up and the facts of this case, and the Defendant's answers, if




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untruthful, may later be used agauist h i m i n a prosecution for perjury or false

statements.

                III.   A C K N O W L E D G M E N T OF PENALTIES

   7. The Defendant understands that, based on his plea of guilty, he w i l l be

subject to the following maximum and mandatory m i n i m u m penalties:

As to Count 6:18 U.S.C. §§ 1591(a) and (b)(2), and § 2.

          a. M a x i m u m term of imprisonment: Life.

         b. Mandatory m i n i m u m term of imprisonment: 10 years.

         c. Term of supervised release: 5 years up to life.

          d. M a x i m u m fine: $250,000.00, due and payable immediately.

         e. Full restitution, due and payable immediately, to all victims of the

              offense(s) and relevant conduct.

         f. Mandatory special assessment: $100 plus $5,000.00, due and

              payable immediately, unless the court determines that the

              Defendant is indigent.

          g. Forfeiture of any and all proceeds f r o m the commission of the

              offense, any and all property used or intended to be used to facilitate

              the offense, and any property involved i n the offense.

As to Count 8:18 U.S.C. §§ 1591(a) and (b)(2), and § 2

          a. M a x i m u m term of imprisonment: Life.

         b. Mandatory m i n i m u m term of imprisonment: 10 years.


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          c. Term of supervised release: 5 years to life.

          d. M a x i m u m fine: $250,000.00, due and payable immediately.

          e. Full restitution, due and payable immediately, to all victims of the

             offense(s) and relevant conduct.

          f. Mandatory special assessment: $100.00.

          h. Forfeiture of any and all proceeds f r o m the commission of the

             offense, any and all property used or intended to be used to facilitate

             the offense, and any property involved i n the offense.

   8. The Defendant understands that, before imposing sentence i n this case, the

Court w i l l be required to consider, among other factors, the provisions of the

United States Sentencing Guidelines and that, under certain circumstances, the

Court has the discretion to depart f r o m those Guidelines. The Defendant further

understands that the Court may impose a sentence up to and including the

statutory m a x i m u m as set forth i n this paragraph and that no one can predict his

exact sentence at this time.

   9. SEX OFFENDER R E G I S T l ^ T I O N : The Defendant understands that, by

pleading guilty, he w i l l be required to register as a sex offender i n accordance

w i t h the relevant statutes of the State of Georgia, including OCGA § 42-1-12, and

the federal provisions, including 42 U.S.C. § 16913. He shall register w i t h the

state offender registration agency i n any state where he resides, is employed,

works, or is a student and upon his release f r o m prison as a condition of


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supervised release pursuant to 18 U.S.C. § 3583(d). He shall initially register w i t h

the state sex offender registration agency i n the State of Georgia, and shall also

register w i t h the state sex offender registration agency i n any state where he

resides, is employed, works, or is a student, as directed by the Probation Officer.

The Defendant shall comply w i t h all requirements of federal and state sex

offender registration laws, including the requirement to register and update his

registration information under 42 U.S.C. § 16913 and OCGA § 42-l-12(f). The

Defendant shall provide proof of registration to the Probation Officer w i t h i n 72

hours of his sentencing if he is not sentenced to a term of imprisonment, or, i f he

is sentenced to a term of imprisonment, w i t h i n 72 hours of his release. The

Defendant also understands that, independent of supervised release, he w i l l be

subject to federal and state sex offender registration requirements, and that those

requirements may apply throughout his life. The Defendant understands that he

w i l l be subject to possible federal and state penalties for failure to comply w i t h

any such sex offender registration requirements. The Defendant further

understands that, under 18 U.S.C. § 4042(c), notice w i l l be provided to certain

law enforcement agencies upon his release f r o m confinement following

conviction.

   10. REMOVAL FROM THE UNITED STATES: The Defendant recognizes that

pleading guilty may have consequences w i t h respect to his immigration status if

he is not a citizen of the United States. Under federal law, a broad range of


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crimes are removable offenses, including the offense to which the Defendant is

pleading guilty. Indeed, because the Defendant is pleading guilty to this offense,

removal is presumptively mandatory. Removal and other immigration

consequences are the subject of a separate proceeding, however, and the

Defendant understands that no one, including his attorney or the district court,

can predict to a certainty the effect of his conviction on his immigration status.

The Defendant nevertheless affirms that he wants to plead guilty regardless of

any immigration consequences that his plea may entail, even i f the consequence

is his automatic removal f r o m the United States.

                           IV.    PLEA A G R E E M E N T

   11. The Defendant, his counsel, and the Government, subject to approval by

the Court, have agreed upon a negotiated plea i n this case, the terms of which are

as follows:

                                 Dismissal of Counts

   12.   The Government agrees that, upon the entry of the Judgment and

Commitment Order, any and all remaining counts i n the above-styled case still

pending against Defendant shall be dismissed pursuant to Standing Order No.

07-04 of this Court and to Rule 48(a) of the Federal Rules of Criminal Procedure.

Tlie Defendant understands that the Probation Office and the Court may still

consider the conduct underlying such dismissed counts i n determining relevant




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conduct under the Sentencing Guidelines and a reasonable sentence under Title

18, United States Code, Section 3553(a).

                              No Additional Charges

   13. The United States Attorney for the Northern District of Georgia agrees not

to bring further criminal charges against the Defendant related to the charges to

which he is pleading guilty. The Defendant understands that this provision does

not bar prosecution b y any other federal, state, or local jurisdiction.

                    Sentencing Guidelines Recommendations

   14. Based upon the evidence currently k n o w n to the Government, the

Government agrees to make the following recommendations and/or to enter into

the following stipulations.

Acceptance of Responsibility

   15. The Government w i l l recommend that the Defendant receive the two-level

adjustment for acceptance of responsibility pursuant to Section 3E1.1 of the

Sentencing Guidelines, and the additional one-level adjustment i f the offense

level is 16 or higher. However, the Government w i l l not be required to

recommend acceptance of responsibility if, after entering this Plea Agreement,

the Defendant engages i n conduct inconsistent w i t h accepting responsibility.

Thus, by way of example only, should the Defendant falsely deny or falsely

attempt to minimize Defendant's involvement i n relevant offense conduct, give

conflicting statements about Defendant's involvement, fail to pay the special


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assessment, fail to meet any of the obligations set forth i n the Financial

Cooperation Provisions set forth below, or participate i n additional criminal

conduct, including u n l a w f u l personal use of a controlled substance, the

Government w i l l not be required to recommend acceptance of responsibility.

               Right to Answer Questions, Correct Misstatements,
                          and Make Recommendations

   16. The parties reserve the right to inform the Court and the Probation Office

of all facts and circumstances regarding the Defendant and this case, and to

respond to any questions f r o m the Court and the Probation Office and to any

misstatements of fact or law. Except as expressly stated elsewhere i n this Plea

Agreement, the parties also reserve the right to make recommendations

regarding application of the Sentencing Guidelines. The parties understand,

acknowledge, and agree that there are no agreements between the parties w i t h

respect to any Sentencing Guidelines issues other than those specifically listed.

                        Right to Modify Recommendations

   17. W i t h regard to the Government's recommendation as to any specific

application of the Sentencing Guidelines as set forth elsewhere i n this Plea

Agreement, the Defendant understands and agrees that, should the Government

obtain or receive additional evidence concerning the facts underlying any such

recommendation, the Government w i l l bring that evidence to the attention of the

Court and the Probation Office. I n addition, if the additional evidence is

sufficient to support a finding of a different application of the Guidelines, the
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Government w i l l not be bound to make the recommendation set forth elsewhere

i n this Plea Agreement, and the failure to do so w i l l not constitute a violation of

this Plea Agreement.

                                     Cooperation

General Requirements

   18. The Defendant agrees to cooperate truthfully and completely w i t h the

Government, including being debriefed and providing t r u t h f u l testimony at any

proceeding resulting f r o m or related to Defendant's cooperation. Defendant

agrees to so cooperate i n any investigation or proceeding as requested by the

Government. Defendant agrees that Defendant's cooperation shall include, but

not be limited to:

          a. producing all records, whether written, recorded, electronic, or

             machine readable, i n his actual or constructive possession, custody,

             or control, of evidentiary value or requested by attorneys and agents

             of the Government;

          b. making himself available for interviews, not at the expense of the

             Government if he is on bond, upon the request of attorneys and

             agents of the Government;

          c. responding f u l l y and truthfully to all inquiries of the Government i n

             connection w i t h any investigation or proceeding, without falsely

             implicating any person or intentionally withholding any

             information, subject to the penalties of making false statements (18
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             U.S.C. § 1001), obstruction of justice (18 U.S.C. § 1503) and related

             offenses; and

          d. when called upon to do so by the Government i n connection w i t h

             any investigation or proceeding, testifying i n grand jury, trial, and

             other judicial proceedings, fully, truthfully, and under oath, subject

             to the penalties of perjury (18 U.S.C. § 1621), making false statements

             or declarations i n grand jury or court proceedings (18 U.S.C. § 1623),

             contempt (18 U.S.C. §§ 401 - 402), obstruction of justice (18 U.S.C. §

             1503), and related offenses.

The Defendant understands that the Government alone w i l l determine what

forms of cooperation to request f r o m the Defendant, and the Defendant agrees

that Defendant w i l l not engage i n any investigation that is not specifically

authorized by the Government.

Section 1B1.8 Protection

   19. Pursuant to Section 1B1.8 of the Sentencing Guidelines, the Government

agrees that any self-incriminating information that was previously unknown to

the Government and is provided to the Government by the Defendant i n

connection w i t h Defendant's cooperation and as a result of this Plea Agreement

w i l l not be used i n determining the applicable sentencing guideline range,

although such information may be disclosed to the Probation Office and the

Court. The Government also agrees not to bring additional charges against the

Defendant, w i t h the exception of charges resulting f r o m or related to violent

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criminal activity, based on any information provided by the Defendant i n

connection w i t h cooperation that was not known to the Government prior to the

cooperation. However, i f the Government determines that the Defendant has not

been completely truthful and candid i n his cooperation w i t h the Government, he

may be subject to prosecution for perjury, false statements, obstruction of justice,

and any other appropriate charge, and all information Defendant has provided

may be used against Defendant i n such a prosecution. Furthermore, should the

Defendant withdraw his guilty plea i n this case and proceed to trial, the

Government is free to use any statements and/or other information provided by

the Defendant, pursuant to the Defendant's cooperation, as well as any

information derived therefrom, during any trial or other proceeding related to

the Government's prosecution of the Defendant for the offense(s) charged i n the

above-numbered Counts 6 and 8.

Conditional Section 5K/Rule 35 Motion

   20. The Government agrees to make the extent of the Defendant's cooperation

known to the sentencing court. I n addition, i f the cooperation is completed

before sentencing and the Government determines that such cooperation

qualifies as "substantial assistance" pursuant to Title 18, United States Code,

Section 3553(e) and/or Section 5K1.1 of the Sentencing Guidelines, the

Government w i l l file a motion at sentencing recommending a downward

departure f r o m the applicable guideline range. If the cooperation is completed


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after sentencing and the Government determines that such cooperation qualifies

as "substantial assistance" pursuant to Rule 35(b) of the Federal Rules of

Criminal Procedure, the Government w i l l file a motion for reduction of sentence.

In either case, the Defendant understands that the determination as to whether

Defendant has provided "substantial assistance" rests solely w i t h the

Government. Good faith efforts by the Defendant that do not substantially assist

i n the investigation or prosecution of another person who has committed a crime

w i l l not result i n either a motion for downward departure or a Rule 35 motion.

The Defendant also understands that, should the Government decide to file a

motion pursuant to this paragraph, the Government may recommend any

specific sentence, and the final decision as to what credit, if any, the Defendant

should receive for Defendant's cooperation w i l l be determined by the Court. If

the Defendant fails to cooperate truthfully and completely, or i f the Defendant

engages i n additional criminal conduct or other conduct inconsistent w i t h

cooperation. Defendant w i l l not be entitled to any consideration whatsoever

pursuant to this paragraph.

                          Sentencing Recommendations

Joint Sentence Recommendation

   21. The Parties agree that the Defendant and the Government shall

recommend that the Court impose a total custodial sentence of 120 months of

imprisonment as to Counts 6 and 8, to be served concurrently.


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   22. The Parties agree that if the Government files a motion for downward

departure pursuant to Section 5K1.1 of the Sentencing Guidelines because

Defendant's cooperation qualifies as "substantial assistance," the Court w o u l d be

authorized but not required, pursuant to Title 18, United States Code, Section

3553(e), to sentence Defendant below the mandatory m i n i m u m sentence.

Fine-No Recommendation As To Amount

   23. The Government agrees to make no specific recommendation as to the

amount of the fine to be imposed on the Defendant within the applicable

guideline range.

Restitution

   24. The Defendant agrees to pay f u l l restitution to the Clerk of Court for

distribution to all victims of the offense(s) to which he is pleading guilty and all

relevant conduct, including, but not limited to, any counts dismissed as a result

of this Plea Agreement. The Defendant understands that the amount of

restitution owed to each victim w i l l be determined at or before sentencing. The

Defendant also agrees to cooperate f u l l y i n the investigation of the amount of

restitution, the identification of victims, and the recovery of restitution for

victims.

Forfeiture

   25. The Defendant agrees to the forfeiture of any property, real or personal,

which constitutes or is derived f r o m proceeds traceable to the violations to which


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the defendant is pleading guilty as required by 18 U.S.C. § 1594(d) and (e).

Forfeiture may include a money judgment for an amount of money representing

the illegal proceeds obtained by the Defendant f r o m the illegal activity.

   26. The Defendant waives and abandons his interest i n any property that may

have been seized i n connection w i t h this case. The Defendant agrees to the

administrative or judicial forfeiture or the abandonment of any seized property.

   27. The Defendant agrees to hold the United States and its agents and

employees harmless f r o m any claims made i n connection w i t h the seizure,

forfeiture, or disposal of property cormected to this case. The Defendant

acknowledges that the United States w i l l dispose of any seized property, and

that such disposal may include, but is not limited to, the sale, release, or

destruction of any seized property. The Defendant agrees to waive any and all

constitutional, statutory, and equitable challenges i n any manner (including

direct appeal, a Section 2255 petition, habeas corpus, or any other means) to the

seizure, forfeiture, and disposal of any property seized i n this case on any

grounds.

                         Financial Cooperation Provisions

Special Assessment

   28. The Defendant agrees that he w i l l pay a special assessment i n the amount

of $5,200.00 (which includes the $5,000.00 special assessment under 18 U.S.C. §

3014, unless the Court determines that Defendant is indigent) by money order or

certified check made payable to the Clerk of Court, U.S. District Court, 600 East
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First Street, Rome, Georgia 30161, on the day of sentencing. The Defendant

agrees to provide proof of such payment to the undersigned Assistant United

States Attorney upon payment thereof.

Fine/Restitution - Terms of Payment

   29. The Defendant agrees to pay any fine and/or restitution imposed by the

Court to the Clerk of Court for eventual disbursement to the appropriate account

and/or victim(s). The Defendant also agrees that the f u l l fine and/or restitution

amount shall be considered due and payable immediately. If the Defendant

cannot pay the f u l l amount immediately and is placed i n custody or under the

supervision of the Probation Office at any time, he agrees that the custodial

agency and the Probation Office w i l l have the authority to establish payment

schedules to ensure payment of the fine and/or restitution. The Defendant

understands that this payment schedule represents a m i n i m u m obligation and

that, should Defendant's financial situation establish that he is able to pay more

toward the fine and/or restitution, the Government is entitled to pursue other

sources of recovery of the fine and/or restitution. The Defendant further agrees

to cooperate f u l l y i n efforts to collect the fine and/or restitution obligation by

any legal means the Government deems appropriate. Finally, the Defendant and

his counsel agree that the Government may contact the Defendant regarding the

collection of any fine and/or restitution without notifying and outside the

presence of his counsel.


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Financial Disclosure

   30. The Defendant agrees that Defendant w i l l not sell, hide, waste, encumber,

destroy, or otherwise devalue any such asset worth more than $500 before

sentencing, without the prior approval of the Government. The Defendant

understands and agrees that Defendant's failure to comply w i t h this provision of

the Plea Agreement should result i n Defendant receiving no credit for acceptance

of responsibility.

   31. The Defendant agrees to cooperate f u l l y i n the investigation of the amount

of restitution and fine; the identification of funds and assets i n which he has any

legal or equitable interest to be applied toward restitution and/or fine; and the

prompt payment of restitution or a tine.

   32. The Defendant's cooperation obligations include: (A) f u l l y and    tiuthfully

completing the Department of Justice's Financial Statement of Debtor form, and

any addenda to said f o r m deemed necessary by the Government, within ten days

of the change of plea hearing; (B) submitting to a financial deposition or

interview (should the Government deem i t necessary) prior to sentencing

regarding the subject matter of said form; (C) providing any documentation

w i t h i n his possession or control requested by the Government regarding his

financial condition and that of his household; and (D) f u l l y and truthfully

answering all questions regarding his past and present financial condition and

that of his household i n such interview(s); and (E) providing a waiver of his



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privacy protections to permit the Government to access his credit report and tax

information held by the Internal Revenue Service.

   33. So long as the Defendant is completely truthful, the Government agrees

that anything related by the Defendant during his financial interview or

deposition or i n the financial forms described above carmot and w i l l not be used

against h i m i n the Government's criminal prosecution. However, the

Government may use the Defendant's statements to identify and to execute upon

assets to be applied to the fine and/or restitution i n this case. Further, the

Government is completely free to pursue any and all investigative leads derived

i n any way f r o m the interview(s)/deposition(s)/financial forms, which could

result i n the acquisition of evidence admissible against the Defendant i n

subsequent proceedings. If the Defendant subsequently takes a position i n any

legal proceeding that is inconsistent w i t h the interview(s)/ deposition(s)/

financial forms-whether i n pleadings, oral argument, witness testimony,

documentary evidence, questioning of witnesses, or any other manner-the

Government may use the Defendant's interview(s)/deposition(s)/ financial

forms, and all evidence obtained directly or indirectly therefrom, i n any

responsive pleading and argument and for cross-examination, impeachment, or

rebuttal evidence. Further, the Government may also use the Defendant's

interview(s)/deposition(s)/financial forms to respond to arguments made or

issues raised sua sponte by the Magistrate or District Court.


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                  Recommendations/Stipulations Non-binding

   34. The Defendant understands and agrees that the recommendations of the

Government incorporated w i t h i n this Plea Agreement, as well as any

stipulations of fact or guideline computations incorporated w i t h i n this Plea

Agreement or otherwise discussed between the parties, are not binding on the

Court and that the Court's failure to accept one or more of the recommendations,

stipulations, and/or guideline computations w i l l not constitute grounds to

withdraw his guilty plea or to claim a breach of this Plea Agreement.

                             Limited Waiver of Appeal

   35. LIMITED WAIVER OF APPEAL: To the maximum extent permitted by

federal law, the Defendant voluntarily and expressly waives the right to appeal

his conviction and sentence and the right to collaterally attack his conviction and

sentence i n any post-conviction proceeding (including, but not limited to,

motions filed pursuant to 28 U.S.C. § 2255) on any ground, except that the

Defendant may file a direct appeal of an upward departure or u p w a r d variance

above the sentencing guideline range as calculated by the district court. Claims

that Defendant's counsel rendered constitutionally ineffective assistance are

excepted f r o m this waiver. The Defendant understands that this Plea Agreement

does not limit the Government's right to appeal, but if the Government initiates a

direct appeal of the sentence imposed, the Defendant may file a cross-appeal of

that same sentence.



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                               Miscellaneous Waivers

FOIA/Privacy Act Waiver

   36. The Defendant hereby waives all rights, whether asserted directly or b y a

representative, to request or receive f r o m any department or agency of the

United States any records pertaining to the investigation or prosecution of this

case, including, without limitation, any records that may be sought under the

Freedom of Information Act, Title 5, United States Code, Section 552, or the

Privacy Act of 1974, Title 5, United States Code, Section 552a.

Waiver of Right to Challenge Prior Convictions

   37. I n consideration of the benefits received b y Defendant under the terms of

this Plea Agreement, Defendant agrees that he w i l l not challenge, either directly

or collaterally, i n any manner, any prior sentence and/or conviction i n any court.

Defendant further agrees that, i n the event that a prior sentence or conviction is

vacated, this event w i l l not serve as the basis for a reduced sentence i n any

collateral attack on the sentence i n this case.




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                              No Other Agreements

   38. There are no other agreements, promises, representations, or

understandings between the Defendant and the Government.


In Open Court this           day of,



SIGNATURE (Attorney for                     SiqNATURE (Defendant)
Defendant)
Kenneth W. Sheppard                         Jaime A d a m Riano



SIGNATURE (Assistant United "States Attorney)
Suzette A . Smikle

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 / )               ^
3lGKiSTURB4Assistaril United States Attorney)
Dashene A. Cooper
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  SIGNATURE (Approving Official)
I Richard S. Moultrie, Jr.




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   I have read the hidictment against me and have discussed i t w i t h m y

attorney. I understand the charges and the elements of each charge that the

Government w o u l d have to prove to convict me at a trial. I have read the

foregoing Plea Agreement and have carefully reviewed every part of i t w i t h m y

attorney. I understand the terms and conditions contained i n the Plea

Agreement, and I voluntarily agree to them. I also have discussed w i t h m y

attorney the rights I may have to appeal or challenge m y conviction and

sentence, and I understand that the appeal waiver contained i n the Plea

Agreement w i l l prevent me, w i t h the narrow exceptions stated, f r o m appealing

my conviction and sentence or challenging m y conviction and sentence i n any

post-conviction proceeding. N o one has threatened or forced me to plead guilty,

and no promises or inducements have been made to me other than those

discussed i n the Plea Agreement. The discussions between m y attorney and the

Government toward reaching a negotiated plea i n this case took place w i t h m y

permission. I am f u l l y satisfied w i t h the representation provided to me b y m y

attorney i n this case.




 Jaime A d a m Riano




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     I am Jaime A d a m Riano's lawyer. I have carefully reviewed the charges and

the Plea Agreement w i t h m y client. To m y knowledge, m y client is making an

informed and voluntary decision to plead guilty and to enter into the Plea

Agreement.



 SIGNATURE (Defense Attorney)                     DATE
 Kenneth W. Sheppard
                                                 Jaime A d a m Riano
 Kermeth W. Sheppard
 2182 Jane Court
 Smyrna, GA 30080
 (770) 803-5105

^ ^11 ^ r &        State Bar of Georgia Number



Filed i n Open Court

This _    day of           SF^               COURT
                            James N. Hatten, t'lerk

By                         *L                •        '
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     Case 4:17-cr-00006-HLM-WEJ Document 97 Filed 11/17/17 Page 23 of 23




                        U . S. DEPARTMENT OF JUSTICE
                    Statement of Special Assessment Account
This statement reflects your special assessment only. There may be other
penalties imposed at sentencing.


                           ACCOUNT INFORMATION
CRIMINAL A C T I O N NO.:     4:17-CR-006-HLM-WEJ
DEFENDANT'S N A M E :         JAIME A D A M R I A N O
PAY THIS A M O U N T :        $5,200


Instructions:
   1. Payment must be made by certified check or money order payable to:
                        Clerk of court, U.S. District Court
                     ^personal checks will not be accepted*
   2. Payment must reach the clerk's office w i t h i n 30 days of the entry of your
       guilty plea
   3. Payment should be sent or hand delivered to:
                         Clerk, U.S. District Court
                         600 East First Street
                         Rome, Georgia 30161
                         (Do Not Send Cash)
   4. Include defendant's name on certified check or money order.
   5. Enclose this coupon to insure proper and prompt application of payment.
   6. Provide proof of payment to the above-signed AUSA w i t h i n 30 days of the
       guilty plea.




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